Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re:

 

ch
wyt-r Pane”

 

L Le ye a EWH HY Debtor(s)

fe - eA
xX By Lee See tome

 

AFFIDAVIT PURSUANT TO LOCAL RULE 1007-1(b)

LLOYD AEM, SLLEIN , undersigned debtor herein, swears as follows:

1. Debtor filed a petition under chapter of the Bankruptcy Code on 3 L283 d/ 4 .
pet A [iP yok a ee [ (Ot Ef See g/H ees, FF] (06 Sf 106 DES (07 fazAc?
2. Schedule(s) were not filed at the time of filing of the said petition, and is/are being filed herewith. / aif
3. [Check applicable box]: 109
2 The schedules filed herewith reflect no additions or corrections to, or deletions from, list of creditors which
accompanied the petition.
O Annexed hereto is a listing of names and addresses of scheduled creditors added to or deleted from the list of
creditors which accompanied the petition. Also listed, as applicable, are any scheduled creditors whose
previously listed names and/or addresses have been corrected. The nature of the change (addition, deletion or
correction) is indicated for each creditor listed.

1. [If creditors have been added] An amended mailing matrix is annexed hereto, listed added creditors ONLY, in the
format prescribed by E.D.N.Y LBR 1007-3.

Reminder: No amendment of schedules is effective until proof of service in accordance with E.D.N. Y LBR 1009-
1(b) has been filed with the Court.

Any additions to the list of creditors which accompanied the petition will be deemed an amendment to the list, if this
amendment is filed prior to the expiration of the time period set forth in Fed. R. Bankr. P. 4004 and 4007, it will be
deemed to constitute a motion for a 30-day extension of the time within any added creditors may file a complaint to
object to the discharge of the debtor and/or to determine dischargeability. The motion will be deemed granted without
a hearing if no objection is filed with the Court and served on debtor within 14 days following filing of proof of
service of this affirmation, all attachments and the amended schedules in accordance with E.D.N.Y LBR 1009-1.

  
 
 

oe ORBIT, LEY, hte Lo"
¢ Debtor (signature)

 

Sworn to before me this

Day of , 20

 

Notary Public, State of New York

Rev. 12/16
Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43

 

 

 

 

 

  

   

sanaraer
& Oak Pah

   

st His in more one categcy
two married people are fing to
parate sheet te this form. Ont

 
  

   

  
  
  

     

2S comp lote and accurate « 23 pas
correct information. i more space is needed, at
st number Uf known). Answer every question.

          

 

» You Own or Have an Interes:

 

hn Residence, Building, Land, or Other Real Es

 

 

al or equitable imerest in any residence, buiic land, or similar property?

   

Oo you own or hey

td NO. O50 Te art 2

os ves Where

 

      

 

 
   

 

 

 
    

Sweet “
hee Conrent v
othe! entire propery : Mee odes
1) 552 Oescribe the : 3 ‘
iP Gode interest (su 6
Soe enna the entireties :

 

progerty? Check one

     

ther

* add about this item, such as loos

 

 

Other information you
property identification a

 

What is the property?

   

 

Singie-famiiy

7
cml Co

Oo

 

  

 

   

scribe the
wilerest (Su
the entiretios

   

       
  

 

ae iY

  

Other information you
property ldentHicaton

 

Schedule AIB: Fre

   

 

 
Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43

 

Creyd FP  BENPAM asus. PAF TAIN

   

  
 

oO not dedur
amount of

  
   
 
 
  

     

  

a4 Lf Single
: Cl Dupies « s
wt Condominnurn ore
Cl Manufacture: :
ul Land a euemeeeemmnennnn ° fe tease armas
Ld investment property

 

   

 

 

 

 

        

 

Share £) pmeshere Oeseribe the
Oo - interest (suc
allel ater the entireties
Who has an interest in the property’? Check ane 9 ee
sen tit in nape Cad Debtor 4

& “OUnty

 

i or ~
wd Debtor 2 .
wet Check if

fsee insinac)

 

ee .
wt Debtor? and D
-

Lt At least one

   

er

    
 

Other information you vw ! about this Hem, uch as |

property identification nm

 

 

 

Add the dofiar value of the portion you own for all of your entries from F ading any entries for pages

ed for Part 7. Write that number here,

you have attac

 

ibo Your Vehicles

 

 
   

e registered or not? include
tory Contracts and Unexpired . ©

 

 

Who has an interes Oo not dedu

 

Make

   

Model

Current val
entire prope:

 

      

Cl Check if this is con

 

metructons;

iy? Check ane

im Dentoy
(J At ieast one of

     

 

Li Check if this is com
ingtruchons)

 

 

Schedule AM: Pr

   

 
Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43

 

 

 

 

14 Make ceoneentnnin
Model swan tae
DT _

 

 

 

a4. Make:

 

Model

 

 

 

He you owl or Nave

i206 Make

Model

 

 

Add the dollar ve

 

Farm 1064/68

   

 

ing of the portion you own for all of your entries from Part &, including any entries for pages .
you have attached for Part 2, Write that number rere :

Who has an ime y? Check one
ww D Debtor | ory

wd Debtor \
ul Delton 1 ans
tod ALIS

      
   
 

Creditors Wha

 
 

Current vah
entire proper

  

 

 

(J Check if tis is cow
INSTUGUONS)

 

 
 

Who has an iverest in un

24 sriy? Check o

 

ndedu
armount of

te
wreditars v

 
  

 

   

Current vali
entire Prape

 
 

a

led Debtor ta
PB pe leet par Pe
wed Atleast one oft

       

 

Ll! Check # this is cn

instructions)

operty (see

 

rvehicies, and accessories
cle acces

   

Who has an interest in the praparty? Check one. 9 not deriuct

 
 
    

  

CL) Debtor 3 any
led Debtor 2

 

Current valuc
entire proper

     

ii Check (f this is co
instruchons)

 

Ds

 

Who has an interest in ihe property? Check on

 

      
 

TL only

 

Current valu
entire prope

   

AE

 

LJ Check if this is community property (see
instructions}

 

 

Schedule A/B: Property

 

 

 
Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43

lemon | LLo

 

     

 

YD FT BENHDN coveumeer ELF

TA 2

 

 
  

fe you own or have any legal or equitable interest in any of the following He:

Household goods and furnishings
ances furniture, ners. china, kitchenware

   
    

 
  
   

eres. scanners, music

and fadias, aucho. video, stereo. and digital e

uding cell phones, cameras. |

 

and figurines. paintings, prints, or other artwork, 60 cls.

i
stam coin or baseball card collections: other collections. mens

 
  

  
  

 

ww Yes, Desonbe.

3 Equipment for sporis and hobbies

  

Examples: Sports, photographic, exercise, and other hobby equipment, bic , golf clubs. sk
? el

and kayaks: carpentry tools; musical instruments

wt Yes. Desenbe

 

  
  

to Flrearms
jyolguns. ammunilion, and related equipment

 

Ines, furs, leather coals, desi igner wear, Snoes, act 2
VED My CLETHING 55 0g

yaweilry. walones, gems,

 

awelry. costume jewelry. engagement rings. wedding

LSAT be ff ite 2o

ds, horses

 

1. Non-Yarm animals

Ex

Examplas: Dogs. cals

 

i No

wi Yes, Describe.

 

y otherpersonal and household items you did not already list, inciud! ith aids you did not list

    
 

wi Yes Give
wfiormation

 

Add the dollar value of all of your entries from Part 3, including any entrice
jor Part 3. Wriie that number here

es you have attached

 

=
8

Schedul

   

 

 
Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43

LleyD GF BENE 17)

     

Describe Your Financial Assets

 

 

TyOur home, a §

  

* Depasits of money
Examples: Chea ; other financal acc
and olher similar insttulions. if you have

 
  
 

 

 

vedi unions, bev
list each

unis, cert
multiple 2

sage house:

  
 

 

inghtullon name

: SHbSE - OXK. oe

171 Checker

 

ae ty

        

 

 

 

 

 

 

 

 

   
  

of issuer same

   

 

any interest in

 

Aon-publicl yu traded stock and interests in incorporated and unincorporatc
an LLG Bership, and ioint venture

   
   

nly:

 

 

 

 

   

cial Form (Q6A/8 Schedule A/B: Proper

 
Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43

9. BEMMOM) — vor. PLT B-

Be Rend font Nume

  

 

  

       
 

re’ check

personal c g
rangfer to sore

    

q them.

Bo

 

 

 

 

     
  

 

 

 

    

  
  

  

   

Retirement or pension accounts
Eg plese RA ERISA, Kkeagn,
lod Listeach
account $e y insituhon name
Keogh we ne
i account “ene tnrnron-nat-tenementnn ints —_ -
adhtianal account ee etait ce conan
deposits and prapayments
i ac deposits you have made so that you may cosunue rom @ company
aid rent. public ufiimes (¢ no Gas LElecOommunica lions

 

 

 

 

 

   

SARE PEEE seontnntanht tin nantatnnnenacecsantinnsin aha

  

 

‘6s (A contract for a penodic payment of money to you, either |

 

 

 

 

 

Schedule A/B: Proper

   

 
Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43

cone LAIR I] E-

   

 

 

   

erests in an education IRA, in an account in a qualified ABLE pro
1) S20A(b). and §20(b)11).

   

y Sepang

 

 

 

 

® Trusts, equitable or future interests in property (other than anything listed in i, and rights or powers

able for your benefit

    
  

Ba

 

Give spec

rmnavon about ih

WHT) a ce arena wr oe

 

 

Patel me * COBY rights, wacemarks, trade secrets, and other intellectual prog

asi names, websites. proceeds from ray

 

 

information about them.

e association hold . brofessional icenses

   

Federal

   

you av

 

apport

eo Deed

      

 

sroperly 5

 

y. spousal supp

 

 
   

 
 
 
 

  

ineur.

ingurance payments, digabury ber
; unpaid foans you made ia som

pay. workers ©

     

 

Scheduie A/B:

   

 
Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43

thes ~7- REwtaa) sworn SAD ZB] 2.

 

     

 
  

avers. or renters insurance

“a 4 . Name ine imsurance company

of each ooh

we : Company name: Beneficiary eb es
“y and list iis value

 

 

 

<2 Any interest in property that is due you from someone who has died
u are the beneficiary of a living trust, expect proceeds from a ufe insu

mty- because someone has died,

   

to receive

   

of ae currently ent

    
  

c information

iuvd parties, whether or nol you have Med a lawsull or mad
_employment disputes. insurance claims, or rights to

 

mand for payment

 

Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
io sel oF claims

es, Describe each claim

 

« Any financial assets you cid not already list

  

a Le Yes. Give specific information. ..... .

« Add the dollar value of all of your entries from Part 4, including any emt
for Part 4. Write that number here

  

 

s you have attacned

 

   

 

Describe Any Business-Related Property You Ow ar Have an interest In. List any re
ae

 

 

 

own or have any leaal or equitable interest in any husiness-related nr

 

   

: Accaunt$ receivable or commissions you already earned

“Oo Ao
Ld Yes. Describe

a

Office ag ipl 2ent, furnishings, and supplies
Buswess-related computers, software, modems, printers, coprers, fa

   

geciranic

 

 

Schedule A/B: Property oane &

 
Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43

sooner SF JAI] P-

    

wi Yes, Describe

ot inventory

‘win
wa

 

». Desgonbe

   

o? interests in partnerships or joint ventures

   
 

gy

 

 

 

: fee Descohe , ‘
“. BS MESCHE Name of ently YF ownershi
Ks

 

‘ Cpgtomoer lists, mailing lists, or other compilations

a Ne
wt No

 

LSC. § 10144 AN?

 

 

 

 

 

 

 

a8 Acid the dollar value of all of your entries from Part 5, including any entries for pages you have attached
for Part 5, Write that number here

 

4 z cy é “eel a
Describe Any Farm- and Commercial Fishing-Related Praperty You GQwn or Have an interest 5.

if you own or have an interest in farmland, list it in Part 1.

 

 

 

2 Go you awn-or have any legal ar equitable interest in any farm- or commercia ng-related property?

ul

we
a

30 fo Part’.

Be’
my

  

 

  
 

poultry, farm-raised fish

 

rom TOR ASB Schedule A/B: Property r

 

=
anh

 
Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43

 

 

e

 

: Farm 2

   

 

inlormatior

- Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached ‘
for Part 6. Write that number hare : : : : ve we em s eeemmrmmr amen

 

   

 

  
 

 

  

Describe All Property You Own or Mave an Interest @: That You Did Not List Above
. Do you have other property of any kind you did not already list?
Saciiles Gegsonhoketa counlry ch Pip
. Add the daliar value of all of your entries from Part 7. Write that number here “—

 

“a

List the Totals of Each Part of this Form

 

 

4 Pari 1: Total real estate, line 2 “o
3 Part 2: Total vehicles, line 5 Be ce
‘ Part 3: Total personal and household items, line 15 Boe .

 

: Total financial assets, Hne 36 Bn

so Bart & Total business-related property, line 45

 

: Part @: Total farm- and lishing-related property, line 52 3.

: Part 7: Total othor property not listed, line 54 +s

 

> Total personal property. Add ines 56 through 61.

   

 

: Total cl all property on Schedule A/B. Ada ine 55 + line G2.

 

JPocal Berm TO6A/5 Schedule AME: Property pone

 

 
Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43

 

 

S
8
2

 

 

Fuad Natitn

     

   

sobttepdosvas nh Eve You

    
   
   
 

     

 

 

 

  

if two marri
s le ANB Property

 
 

ally responsible }
list the property that you cl

essary. Cin (he ton of any 2

    
  
 
  
    
 
 

{Form 1

eof Part o

amption you claim. One way
value of the property being exe:
5 to recelye ceriain bene
on of 100% of fair market »
mined to exceed that amour), yuu

 
     
 

ry limit. some ORG

oe unlimited in dolla lar amount, However, if you Slain ec ¢
amis the exemption to a particular dollar amount and the value of the property 1s dé
would be limited to the applicable statutory amount.

  
    
 

     

  

identify the Property You Claim as Exempt

 

 

Which set of oxemptions are you claiming? Check one only. even #

 

gwith you,

Pew, ee
rend YORU BE

     

and federal nanbankruptcy ex

 

soot WOU are

  

 

     

iorvof the property and ume on Current value of the Aattecoasn oF Speci
Schedule A/6 that Usts this property portion you own

  

Capy the value F rom

 

     

  

Lat ket value
At Ye 3 e statutory tril wna
:

  

         
    

 

    

5 Are you claiming a homestead exemption of more than $170,3507
tio admustrnent on 4/01/22 and every 3 years after thal for c 9 }
Did you acquire the properly covered by the < z
Mcal Porm 10 chedule C: The hs wa ag Exempt

   

 
Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43

G BEM T cnn CT,

oval Marte

   

Madd: Bess

 

Additional Pa

ae

 

 
   
 

  

Srief description of the property and fine Current value of the AWTS exemption you claim Specie iw

on Schedule 4/6 thai lists this property portion you own

 

but SRB A

rohan

 

 

 

2

viarkel value

 

 

   

 

WIV gS GLGTUOPY IT
Brief ae ry
description: “ a

  

    

 

 

phon:

 

s hom
dule ¢

 

 

    

 

       

   

edule AYE woe
coonceneneennrnmerinneinininesmin ee een ennai
inal
“ Lie Py Aesnanmesueetne paints nes eee vs sen Sewn
tenet nnenrtnmeronene en — a
rT

 
   

hedule AB:

Se

  

Sehedule C:

berm 106

   

 
Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43

 

 

 

     

krupicy istrict of mew aa

PIF TRU :

  
  
 

 

 

 

  

        

   

 

2 as complete and accurate as possible. lf two married people are filing te 501n are equally responsible tc hi
rmation. ff more space is needed, copy the Additional Page, fl it our, ntries, and attach it to this the
itlonal pages, write your name and case number (1 known).

Do any creditors have claims secured by your praperty?

La No Check this box and submit this form to the court with your other scl nothing else io report an the

PUR pee : z

wot YES. FEIN S nformation below

List All Secured Ciaims

 

 

Golunin A

_ if a creditor has more than one secured claim, hist ine ately armenunt of claim

 
 
 
 
 

 
  

 
   

   

 

  

 

   

 

 

 

    

     

 

 
  

yan one creditor has @ particular claim, lst ihe other c La. Do rot the 8
ist the claims In alphabetical order according tot sores
3 value of collateral.
Describe the property that: sigan shS F COO .
As of the date you file, the claim :
Mature of hen Chec
A agreement you me ¥
tai loar)
Cl Statutory hen {such as lax len olechane’s Sen)
= Judgment lien fram a lawsuit
oy tot Hing @ raght io
| Ohreck W this claim relates to a
community debt
Date debi was micurred Last 4 digiis of account niu
ribe ihe property that s Beene enn .

 

 

 

 

 

As of the date you tle, the claim «

 

mR
ee Conbngernt

Uinta

 

we Dispured

Nature of lien Gi

  

 

ck WH ihis claim relates to a
community debt
Date debi was meurred oe Last 4 digits cfaccountnumber 0 oo oo

  

Add the dollar value of your entries in Column A on this page. Write inet nun

 

Schedule BD: Creditors Who : ec oy Property

 

 
Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43

e-/
number grand fT

Additional Page Column A
Amount of claim

afer) sung any enuies on this page, number them beginning w Do not deduct the
DY 24, ang S . value of collateral,

 

 

Liogg FG  hewhpa/

Beat Nay Maddie Name Lowt Namne

   

    
 

 

 

Oescribe the property thal sacure

 

 

 

   

 

   

As of the date you file, the ¢!
oe Contingent

é led Uniiquidaied

LJ Disputed

 

   

%,

 

» ONE Nature of Hen, Check allt /
/ sr oy ; :
rt only oe in agreement you made (su
or 2 only car iloan)
oll Statutory hen (su:

 

    
 
  
 
  

 

ch as lp

 

i tand De

 

fod fo

   

Judgment lien from 3 lawsud

tet Other aneiudi

castone of ine debiors and another

 

k if this claim relates to a oo
community debt

 

Date debt was incurred | S Last 4 digits of account numb cee ne
a
:
i Describe the property that secures 15 3 ee cn

 

 

 

 

   

 

As of the date you file, the claim is: 3

 

cd Contingent
J Uniiquidated
il Dreputed

 

Nature of Uen. Check all #
LaF agreement you made {
car loan)

 

    

 

  

 

od
wi Gebter 1 and Debtor 2 only g
Li Al feast one of the detiors and another C3
Check if this claim relates to a
community debt
ate debt was incurred Last 4 digits of account number
ov sunrimcennanimern 9 wf eae
—
| Describe the property that secures the [ee Ss - cn

 

 

   

 

As of the date you file, the claim is
a Contingent
oy Siaig clip Code Lt Uniiquidated

Ll Craputed

 

 

Whe owes the debt? Check one Nature of fen Check silt

 

 

ter Poniy An agreement you made (such as :
for 2 any car ioart}

Statutory len (such a6 tas

  
 
  
 

mad

 

tor 1 and Debtor 2 erly

50

 

least one of the debtors and another Judgment hen from a ia

 

 

cos Cl other Uincluding a nghi te . een
Ld Check if this claim relates to a

munity debt
Date debt was incurred Last 4digite ofaccount number oe

 

if this is the last page of your form, add the dollar value totais from: 4d p
Write that number here:

 

 

Form 1060 Additional Page of Schedule D: Craditors Wh: Ciaims Secured by Prapert
g ¥ BP

 

 
Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43

Lop G Bentler] conser LP PLP

hate Nanri:

   

 

 

Furet Sarin

List Others to Ge Notified for a Debt That You Alreucy |

    
 
      

 
   

Part 1, and then lst the calle

agency is trying 2 collect from you for a debt you owe to someone sise, is ‘
daitional creditors hera. f you do no

you have more than one creditor for any of the debts that you listed in Part 4,
be notified for any debts in Part 1, do not fill out or submit this page.

    

 

| On which line in Part 7 did you ente

 

 

ast 4 digits of account number

 

 

 

 

 

 

 

     

 

 

 

Street
State ZIP Code
Oe which line in Parti did you enier
Manne Last 4 digits of account number |
Nuriber Sreat
State iP Code

 

  

On which line in Part 7 did you ente

Name Last 4 digits of account number SE 3 g

 

 

 

 

Number Street

 

 

 

 

   

 

 

 

 

 

 

 

 

 

State ZIP Coae
Onwhich line in Part 1 did you enter the ciscdeare
Narae 4 digits of account number
Number Street
Chty Stale ZIP Gade
| On which line In Part 1 did you ente:

Narne 4 digits of account number Z Z x
Number Street
Cay State

 

 

  

 

  

 

 

 

i Gn which line in Part 1 did you ente: ine cr Ue
Name 4 digits of account number a G IF
Number Street °
S State ZiP Code
Part 2 of Schedule D: Creditors Whoa Ka » Secured by Property ot

   

 
Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43

 
   
 
   

 

LL 90 q iw ne |

Last &,

   

 

 

 

ad Claims

ns and Part 2 for creditors w
vaclaim. Also list executory
(pired Leases (OWicial Far
ave Claims Secured by Prope :
Attach the Continuation Page io is 6

 
 
  
   

 

 

3e as complete and accurate as possible. Use Part 1 for creditors with PRIG
» other party to any executory contracis or unexpired leases thal cou'e
twaperty (Official Form 1064/8) and on Schedule G: Executory Con i
tors with partially secured claims that are listed in Schedule D: Crearto
, copy the Part you need, Hit out 1 samber the entries in the
itional pages, write your name and case number (8 known),

 
   
 
 

 

list AH of Your PRIORITY Unsecured Claims

 

riorliy unsecured claims against you?

  
 
    

amounts, isi t
ine creditor's ri
a particular claim, ust

¥

   
   
  

   

ine cla m
age of Part 1.!

 

 

tine Contin atior yt a the
of siein: see the instructions ior this forn wi beoklet}

  

 

Yotal clairn

Last 4 digds of account nustoer G6 HF Bos Seer Ee nam te wee

When was ihe debt mcur

 

 

 

 

 

 

   

heck all that

     

vovwnewmernmnmntinimartanienreninmanenernenns 28 Of the date you file,

 

Laty State: ai lade

incurred the debt? Check one

  
  

debtors and another

 

. @ government
ud Check if this claim is for a community debt

to

 

wihthe you were

ig the claim subject to offset?

to

 

 

  

 

   
 

As of the date you ck all that apely

 

Contingent

 

 

Type of PRIORITY uns
wl Come: oe

    
   

we fhe govern

 

nay White you Were

 

ue Check W this claim is for a community debt infomcaten

is the claim subject to offset? CA Other. Specify
ad No

‘peed ‘Yeas

scured Claims

 

Schedule E/F: Creditors Who Peve :

 

 
Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43

Lleyo F_ BENMMGAZ SALI TRINE

Ruddie Name uae Nata f
Your PRIORITY Unsecured Claims — Continuation Page

   

 

a

  
 

 

Total cl

    

   

 

   

 

  

 

 

  
   

 

   

   

  
 
 

 
 

 

Last 4 digits of account » Sanne a
When was the debt inau
. As of the date you
Cl cor By
Sie CJ une yusiwied
Ld Dusputed
ior i and Debtor 2 only mye .
“ , / / lal Taxes and certain 2 government
least one of ihe deblars and another de
AgaPYSb 5s 4 anile you were

wd Check if this claim is fora community debt

is the claim subject to offset?

ad Ne

$

 

Last 4 digits of accour

 

 

When was the debl incurred?

 

   

 

As of the date you file, the claun is

 

 

  

MOC

 

Who incurred the debt? Check one
w! Debtor 1 onty Type of PRIORITY ur

 

ted Cablor 2 only

La Debtor 1 and Debter 2 only

wa

Domestic su

    

a the government

led Atleast one of the debtors and another

CO

ry yinde yOu were

Li Check if this claim is for a community debt

Q

 

is the claim subject to offset?

   

Last 4 digits of accoun: ¢

 

 

When was the debt imc.

 

 

 

As of the date you file, the claim is. Check all thal apply

 

Cl Contingent
( Uniiquidated
Ld Disputed

 

Type of PRIORITY unse

 

 
     

ator 1 ard Debtor 2 only

stone of the debtors and another

 

AL

 

C2 Check if this claim is for a community debt

 

   

Schedule E/F: Creditors Who H

 
 

Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43

LLeID §. DEWibo] BF TAZ

List All of Your NONPRIORITY Unsecured Osan

 

     

S& NUMDbEr UF ar

 

     

  
  
 

  

      

3. Do any creditors have nonpriority unsecured claims against you?
You have nothing to report in this part. Submit this forrn te th 4
4. tof your nonprionty ungecured claims in the alphabetical order of the cracitor who hoids each claim. Wa <
priory vaseeured claim, fist the creditor separately for each claim. For d, identify what type of claim
1. lf more than one creditor holds a particular claim, lst the c a sin Part 3. you have more t
Hi out t ne ‘Continuation Page of Pari 2.
|

 

 

 

   

 

 

   
 
 
 

 

  
 
  

 

 

State
mcurred the debt? Check one
tonly
or 7 and Debtor 2 only

wwe At feast one of the debtors and another gl
oy . . soa es . C ut ofa separ
iw Check if this claim is for a community debt =) out OF a sep

, thal yo Trias pronly
is the claim subject to offset? load profit-sharing z
bal NO iat
bed FOS

63
Last4a¢ ? account number g Ont...

When wae (he debt incurred?

   

 

harp

 

 

Street

 

 

file, the claim is:

  
 
  
 

 

iP Gode

 

   

cand Debtor 2 ony
one of the debtors and anather et

 
  
 

out of a separation agre:
rt as pronty

   

8 lo persian of profit-sharing

 

account number

 

 

‘

When was Ue debi incurred?

 

 

   

3

su file, the claim im: Coeck all t

    

AS of the date

fi

 

 

vay

Whe Incurred the debt? Check one

     
 

i

 

Wj Check # this claim is for a community debt co
is the claim subject to offset? A
\ atone

   

ian

   

Schedule E/F: Creditors Who |

 

 
Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43
G__ BEWHAO] vena LAG 7214 Z-

Your MONPRIGRITY Unsecured Claims — Continuation Page

   

Middle:

 

emp aimee BA Sr

 

 

   

2.3, arid so forth.

iis of account number BG 3 s

s ine debt incurred?

eer

   

ng any entries on this page, nurnber them beginning with 4.4 fonayw.c

  

 

   

 

     

 

   

   
 
    
 
  

  
  

 

   

 

 

 

Ay 6 sau file, the claim is: Check aut
<B sete o
wt
curred the debt? Check one J
SPRIORITY unsecured claim:
Bay
least one of the debtors and another ng out of a sep
eae . . sees G art as priory ci
Li Check if this claim is for a community debt ,
Lor profi-shann
ia the claim subjact to offset? wee a iii
o -
wre Last 4 cigits uy account number SES Sy

 

  

debt incurred?

 

 

ye you file, the claim is: Che

fare Sire

   
 

 

     

Nhe ipcureed the debt? Check one

  

oti and Debtor 2 only

   

ast ane of (he debtors and anather a out of a se
as pnorty ol

ihe

we Check if this claim is for a community debt

 

ig the claim subject ie offset? wei Hae: a

 

 

ceount number

 

 

 

When wos te debt incurred’?

 

 

   

 

ced

 

eer

hed Oebtor t

 

ry
hed Debtor 2 ony

   
 

‘and Debtor 2 only
labiors and another

 

tone of ine ¢
bong of ihe utofa

as poorly cay

Qo

  

La Check if this claim ts fora community debt :
or pronbana

 

is the claim subject to offset? Ca) rer Seecy ee nn

 

ved Claims eee

 

Schedule E/F: Creditors Who Ht

 

 
Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43

ELPIEI EE

Case rumber o

 

 

  

 

 

5. Use this page only if you have others to be notified about your bankrupt
example, if a collection agency is trying to collect from you for a debt
hen ust the collection agency here. Similarly, if you fave more than one

     
      

itor for any of the debis that you liele
s in Parts 1 or 2, do not fill

   
 

ari i or Part 2 did you Hst the o

 

 

 

   

ane). C) Pari 1. Creditors with F

 

   

Ec Part 2 2 Creag tors ¥ jhe, AT

 

 

 

 

     

   

7 Part 1 or Part 2 did you list the

 

 

one) C) Part 1 Creditors wii

 

oleae Cl] Part 2 Creditors

 

     

 

 

   

 

 

 

 

    

 

  

 

 

 

 

 

   

 

     
 
 

 

 

   

 

 

 

 

 

 

   

    

 

     

 

   

 

 

On which
Line
Claims
Last 4 digits of account number ee
fly aie Code
On which eréry in Part 1 or Part 2 did you list the oy
Line Ol (Check one). C] Part} Creditors wit ae ais
Sue ia Part 2: ¢
ty
Line of iCheck one) OC) Part 1: Creditors with
Sheet CO Part 2: Creditors wih Nor
Claims
Lasi 4 digits of account number 0
ny
On which - wm Part 1 or Part 2 did you list the =
Rane
Line oF ¢ +x ane) CA Part 1. Creditors \ wily LB
Stree! C] Part 2 Creditors with
Clans
Lasi 4 digits of account number SL2E
ny State

 

 

On which entry in Part 1 or Part 2 did you jist the

 

 

   
 

 

    

ine ot / UD Part
C) Part 2: Creditors wit
CHRIS

 

 

Last 4 digits of account number

 

rod Claims

 

Schedule EMF: Creditors Whe ©

 

 
Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43

. Lhe VEN conc EA ETRI/ 2

 

Maddie Nae

el

Add the Amounts for Each Type of Unsecured Cisim

 

 

   

» amounts of cerfain types of unsecured claims. This intornmminon 5 fist rting purposes onby. 2: ue
o amounts for each type of unsecured claim.

  
 

Total claim

   

 

Sa. Oomestic support obligations “
a, se etna seenanat mR aneh KIIREN LORAIN ONAN OE

6b. Taxes and certain other debts you owe the

government Gb &
6c Claims for death or personal injury while you were

intoxicated
&d. Other. Add all other priority unsecured claims.

White thal amount here. Bde

 

 

 

 

   

 

fe. Total. Add knes 6a through 6d i
Total claim

Student loans a :
sq. Obligations arising out of a separation agreement

or divorce that you did not report as priority

claims 69 9S een eve nnennneeanann
8h. Debts to pension or profit-sharing plans, and other

similar depts 5
& Other. Add all other nonpnonty unsecured claims

Write thal arnount here. Be ee
|. Total. Add lines 6f through Gi. a]

 

 

ecured Claims

Schedule E/F: Creditors Who have Jn

     
Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43

 

G  BEWAAM

Phaaie Name cates Narn i

Motidle Name Latat Miaistes 3

| » Court forth fEBSI. STERN District of En YR K
E/GF- TZUU2

 

 

 

 

      

 

Form 106G

secule G: Executory Contracts an

 

 

     

aired Leases

 

 

   

vorth are equally responsible fo
riries, and attach it to this ¢

a6 Camplote and accurate as possibie. if two married peopie are filing &
mation, lf more space is needed, copy the additional page, fill it out, nur
Jona pages, write your name and case number (if known).

      

   

 

Gu have any executory contracts or unexpired leases?

   
 
 
 

 

oO report on:

 

Greck ims box and file this form with the court with your other s¢ fe nothing else

Schedule A/B: Praparty (Offic

     

Fulain all of the information below even if the contracts or lease

Then state what each con
ton booklet for more exar

   
 

Liat separately each person or company with whom vou have the co
example, rent, vehicle lease, cell phone}. See the instructions for this
unexpired leases.

 

og

Person or company with whom you have the contract or lease Stale what the contract or leas

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

State ZIP Code
ilay State iP Code
Street
State 23 fore
Street
State aie Code
Alot
Bade Sine
ony State 2 Code

ed Leases

   

Schedule G: Executory Contracts

 
Case 8-19-72112-reg Doc 22 Filed 05/01/19 Entered 05/01/19 14:05:43

 

Middle Name Last Naru:

Le) BEWHLOT sworn PLP — 720K

 

Additional Page if You Have More Contracts or Leases

Aivvat the contract or lease is for

 

Person ar company with whom you have the contract or lease

 

 

 

Nurnimar Street

 

 

 

 

Street

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

State ZIP Cade
Muraber
aly State ZIP Code
2
Sieet ~~
State ZIP Code
Name
Beart Steet
State ZiP Code
Ros —_
Svat
Cnty State Zip Code
Name
Street
at State ZIP Code ~

 

 

  

 

Say Slate ZiP Code

Schedule G: Executery Contracts and Ur d Leases

   
